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Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF LOUISIANA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Map 6, Inc. dba ASAP Printing & Digital

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  3971 Pontchartrain Drive
                                  Suites 9 and 11                                                 2049 Ponderosa Place
                                  Slidell, LA 70458                                               Mandeville, LA 70448
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Saint Tammany                                                   Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Map 6, Inc. dba ASAP Printing & Digital                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Map 6, Inc. dba ASAP Printing & Digital                                                         Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   Map 6, Inc. dba ASAP Printing & Digital                                      Case number (if known)
         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    Map 6, Inc. dba ASAP Printing & Digital                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 10, 2023
                                                  MM / DD / YYYY


                             X /s/ Margaret Pineda                                                        Margaret Pineda
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO and 100% owner




18. Signature of attorney    X /s/ Robin R. De Leo                                                         Date August 10, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Robin R. De Leo 20347
                                 Printed name

                                 The De Leo Law Firm, LLC
                                 Firm name

                                 800 Ramon St
                                 Mandeville, LA 70448
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (985) 727-1664                Email address      lisa@northshoreattorney.com

                                 20347 LA
                                 Bar number and State




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A
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M
a
x




                        United States Trustee
                        Texaco Center
                        400 Poydras Street
                        Suite 2110
                        New Orleans, LA 70130


                        Tax Collector/Sheriff
                        701 N Columbia St.
                        Parish of St. Tammany Courthouse
                        Covington, LA 70433


                        Equifax Credit Information Services, Inc
                        PO Box 740241
                        Atlanta, GA 30374


                        Chex Systems, Inc.
                        Attn: Consumer Relations
                        7805 Hudson Road
                        STE 100
                        Saint Paul, MN 55125


                        TransUnion
                        2 Baldwin Place
                        Chester, PA 19022


                        Experian
                        Business Info Services
                        Costa Mesa, CA 92626


                        Experian
                        Business Info Services
                        Costa Mesa, CA 92626


                        IRS
                        PO Box 7346
                        Philadelphia, PA 19101-7346


                        ADT
                        3190 S. Vaughn Way
                        Aurora, CO 80014


                        Advertising Specialty Institute
                        PO Box 15017
                        Wilmington, DE 19880
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                        American Express
                        PO Box 6031
                        Carol Stream, IL 60197-6031


                        AMP
                        PO Box 371
                        Reserve, LA 70084


                        AWT
                        1724 South Lane
                        Mandeville, LA 70471


                        Bank of America
                        PO Box 15726
                        Wilmington, DE 19886


                        Bayou Papers LLC
                        41287 West Yellow Water Rd.
                        Hammond, LA 70403


                        BlueVine's Flex



                        Capital One
                        1680 Capital One Drive
                        #1400
                        Mc Lean, VA 22102


                        Capital One Spark Card
                        PO BOX 60519
                        City of Industry, CA 91716


                        Carlson Craft
                        PO Box 8700
                        Mankato, MN 56002


                        Celtic Bank
                        268 S. State St. Suite 300
                        Salt Lake City, UT 84111


                        City of Slidell
                        PO Box 828
                        Slidell, LA 70459
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                        City of Slidell Occupational License
                        2045 Second St
                        STE 214
                        PO Box 828
                        Slidell, LA 70459


                        DFS
                        Lockbox 229
                        Philadelphia, PA 19170


                        Diocesan
                        PO Box 2288
                        Grand Rapids, MI 49501


                        Discount Labels
                        PO Box 200747
                        Dallas, TX 75320


                        Ennis Bus Forms
                        PO Box 841741
                        TX 75280


                        Folder Works
                        Navitor Inc
                        PO Box 856740
                        Minneapolis, MN 55480


                        FZTZ Real Estate LLC
                        c/o Darrel Toy
                        5624 David Dr.
                        Kenner, LA 70065


                        Geneva Capital
                        1311 Broadway Street
                        Alexandria, MN 56308


                        GSG
                        PO Box 671261
                        Dallas, TX 75260


                        HP Inc
                        1501 Page Mill Rd
                        Palo Alto, CA 94304
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                        Insigniah.com
                        PO Box 2939
                        Waxahachie, TX 75168


                        Jefferson Printing Co.
                        3763 Derbigny St.
                        Metairie, LA 70001


                        Kissee & Co
                        824 Elmwood Park Blvd.
                        #107
                        New Orleans, LA 70123


                        Konica Minolta Business Solutions
                        Dept AT 952823
                        Atlanta, GA 31192


                        Louisana Office Products
                        PO Box 23851
                        New Orleans, LA 70183


                        Louisiana Department of Revenue
                        Collection Division
                        P. O. Box 201
                        Baton Rouge, LA 70821-0201


                        Margaret A. Pineda
                        2049 Ponderosa Place
                        Mandeville, LA 70448


                        Margaret A. Pineda
                        2049 Ponderosa Place
                        Mandeville, LA 70448-7525


                        Metro Supplies
                        1512 L & A Road
                        Metairie, LA 70001


                        MPress
                        4100 Howard Ave.
                        New Orleans, LA 70125


                        Point2point
                        3803 Cleveland Ave.
                        New Orleans, LA 70119
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                         Quick Capital Funding
                         2525 Main Street
                         Suite 530
                         Irvine, CA 92614


                         Quill
                         PO Box 37600
                         Philadelphia, PA 19101


                         Reece Supply Co of LA Inc.
                         PO Box 170269
                         Irving, TX 75062


                         Sanmar
                         PO Box 34060
                         Seattle, WA 98105


                         Spectrum Business
                         PO Box 94188
                         Wheeling, IL 60090-4000


                         St. Tammany Parish Tax Collector
                         Post Office Box 1229
                         Slidell, LA 70459


                         Supreme Color
                         21385 Marion Lane
                         Suite D
                         Mandeville, LA 70471


                         Uline
                         Acct. Rec.
                         PO box 88741
                         Chicago, IL 60680


                         Unishippers
                         PO Box 733851
                         Dallas, TX 75373
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                                          United States Bankruptcy Court
                                               Eastern District of Louisiana
 In re   Map 6, Inc. dba ASAP Printing & Digital                                       Case No.
                                                               Debtor(s)               Chapter    7




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Map 6, Inc. dba ASAP Printing & Digital in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



  None [Check if applicable]




August 10, 2023                                    /s/ Robin R. De Leo
Date                                               Robin R. De Leo 20347
                                                   Signature of Attorney or Litigant
                                                   Counsel for Map 6, Inc. dba ASAP Printing & Digital
                                                   The De Leo Law Firm, LLC
                                                   800 Ramon St
                                                   Mandeville, LA 70448
                                                   (985) 727-1664 Fax:(985) 727-4388
                                                   lisa@northshoreattorney.com
